 Case 4:03-cv-01384-Y Document 508 Filed 10/15/08   Page 1 of 1 PageID 12906


                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

HIGHMARK, INC.                       §
                                     §
VS.                                  §
                                     §
ALLCARE HEALTH MANAGEMENT            §        CIVIL NO. 4:03-CV-1384-Y
SYSTEMS, INC.                        §


                        AMENDED FINAL JUDGMENT

      On October 14, 2008, the Court entered a final judgment in this

case, assessing costs under 28 U.S.C. § 1920 against the party

incurring them. This was in error as it failed to take into account

the fact that, on September 2, 2008, this Court partially granted

summary judgment in favor of Plaintiff.             See FED. R. CIV. P. 54

(providing for the recovery of costs by the “prevailing party”); see

also Fogleman v. ARAMCO, 920 F.2d 278, 285 (5th Cir. 1991) (“[A] party

need not prevail on every issue in order to be entitled to costs.”).

Therefore, the Court hereby amends its previous entry of final judgment

to tax costs under 28 U.S.C. § 1920 against defendant Allcare Health

Management Systems, Inc.

      SIGNED October 15, 2008.



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                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE




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